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      Of Attorneys for Defendant




                      IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON
 UNITED STATES OF AMERICA,

                  Plaintiff,                   Case No. 3:17-CR-00463-JO

       v.                                      DEFENDANT’S CONSENT TO
                                               APPEAR BY VIDEOCONFERENCING
 FONG LEE,                                     OR BY TELEPHONE FOR FUTURE
                                               HEARINGS
                  Defendant.



      Defendant, Fong Lee, having been advised of his right to be physically present in

court for his change of plea hearing scheduled for May 28, 2020, at 3:00 p.m., and for

sentencing, hereby waives his right to be physically present and consents to appear at

these future hearings by telephone or by videoconferencing.

       DATED this 27th day of May, 2020.




                                            s/ Fong Lee
                                         Fong Lee (signed by counsel with defendant’s
                                         consent)



                                                                               HOEVET OLSON HOWES, PC
                                                                                  ATTORNEYS AT LAW
Page 1 – DEFENDANT’S CONSENT TO APPEAR BY                                    1000 S.W. BROADWAY, #1740
         VIDEOCONFERENCING OR BY TELEPHONE FOR FUTURE                         PORTLAND, OREGON 97205
         HEARINGS                                                                  (503) 228-0497
